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EXHIBIT 2
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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

LESLIE J. REYNARD,

Plaintiff,
v. Case No. 5:19-CV-04012-HLT-TJJ

WASHBURN UNIVERSITY OF TOPEKA,

Defendant.

DECLARATION OF MARK V. DUGAN

i I am counsel for Plaintiff Leslie Reynard.
2. Prior to seeking a protective order to require Defendant to take depositions by
videoconference, we made numerous efforts to resolve our dispute with Washburn counsel,

including participating in an informal hearing with the Honorable Teresa James discussing this

issue.
ae We were unable to resolve our dispute.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

/s/ Mark V. Dugan
June 23, 2020 Mark V. Dugan

